               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                           Plaintiff,                  Case No. 21-CR-85-JPS
 v.

 TYSHION DAVIS,
                                                                     ORDER
                            Defendant.

       Defendant Tyshion Davis is charged in a single-count indictment for

being a felon in possession of a firearm in violation of 18 U.S.C. §§ 922(g)(1),

924(a)(2). (Docket #1). On May 28, 2021, Defendant moved to suppress the

firearm. (Docket #8). On July 28, 2021, Magistrate Judge Nancy Joseph

issued a Report and Recommendation (“R&R”) denying the motion to

suppress. (Docket #16). Neither Defendant nor the Government objected to

Magistrate Judge Joseph’s R&R. The Court will adopt the R&R in full.

       When reviewing a magistrate’s recommendation, this Court is

obliged to analyze de novo “those portions of the report or specified

proposed findings or recommendations to which objection is made.” 28

U.S.C. § 636(b)(1)(C). However, “[t]he district judge has jurisdiction over

the case at all times,” and the parties’ lack of objection “does not preclude

further review by the district judge, sua sponte[,]. . .under a de novo or any

other standard.” Thomas v. Arn, 474 U.S. 140, 154 (1985). The Court can

“accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate.” 28 U.S.C. § 636(b)(1)(C). The

Court’s review encompasses both the magistrate’s legal analysis and factual

findings. Id.; see also Fed. R. Crim. P. 59(b).




  Case 2:21-cr-00085-JPS Filed 09/28/21 Page 1 of 4 Document 17
       The Court adopts the facts stated in the R&R, which detail a traffic

stop of Defendant’s car. (Docket #16 at 1–6). To summarize, at around 11:00

p.m., Milwaukee Police Officer Robert Gregory observed a red sedan

parked on 47th Street, facing northbound, next to a white sedan that was

parked facing southbound. Officer Gregory saw hands reach out from the

cars, and he thought he saw the drivers exchanging something, but he could

not see what. After the transaction, the cars drove away in opposite

directions. Officer Gregory told his co-workers, via radio call, about the

incident, and said he suspected it a hand-to-hand drug transaction due to

the brevity of the stop, the nature of the transaction, and the neighborhood

in which it occurred.

       Milwaukee Police Officer Zachary Ramion heard Officer Gregory’s

radio call and drove towards Officer Gregory’s general area. At around

11:05 p.m., a few blocks away from where Officer Gregory saw the

transaction, Officer Ramion noticed a red car turn from Stark Street onto

Sherman Boulevard without stopping at a stop sign. Officer Ramion pulled

over the red car; several of his co-workers joined him in the stop. Though

Officer Ramion did not notice anything out-of-sorts about the red car,

Milwaukee Police Officer Tierney said he saw the driver “raise something

to his mouth.” Id. at 4. Additionally, Milwaukee Police Officer Jose Rivera

noticed “a plastic sandwich bag with the corner torn off” sitting in the car’s

center console. Id. at 5. These two observations led to a search of the car,

which revealed a firearm in the center console.

       “The Fourth Amendment permits brief investigative stops—such as

the traffic stop in this case—when a law enforcement officer has a

particularized and objective basis for suspecting the particular person

stopped of criminal activity.” Navarette v. California, 572 U.S. 393, 396–97

                                 Page 2 of 4
  Case 2:21-cr-00085-JPS Filed 09/28/21 Page 2 of 4 Document 17
(2014) (citations and quotation omitted). Officers must consider “both the

content of [the] information” and “its degree of reliability” given the

“totality of the circumstances.” Id. (citation and quotation omitted). The

standard is less demanding than that required for probable cause, though a

“mere hunch” will not suffice. Id. (citation and quotation omitted).

Additionally, a pretextual traffic stop is lawful if the police have probable

cause to believe that the underlying traffic violation occurred. Whren v.

United States, 517 U.S. 806, 810 (1996).

        Magistrate Judge Joseph appropriately determined that the traffic

stop was constitutional because (1) Officer Gregory observed the driver of

a red sedan participate in a hand-to-hand exchange of something with

another driver; (2) the area of Officer Gregory’s patrol was “high crime”1;

and (3) the officers observed the car run a stop sign, an observation that is

corroborated by the body-worn camera footage. Indeed, the third

observation, alone, would have sustained the legality of the traffic stop.

Whren, 517 U.S. at 810.

        As for the search of the vehicle, the Court finds that Magistrate Judge

Joseph’s analysis is equally appropriate. The Fourth Amendment’s

automobile exception permits warrantless searches of a car when there is

probable cause to believe the car contains evidence of a crime. United States

v. Zahursky, 580 F.3d 515, 521 (7th Cir. 2009). Probable cause requires “a fair

probability that contraband or evidence of a crime will be found in a

particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983). Magistrate Judge


        1The Supreme Court has cautioned that an “individual’s presence in an area of
expected criminal activity, standing alone, is not enough to support a reasonable,
particularized suspicion that the person is committing a crime.” Illinois v. Wardlow, 528 U.S.
119, 124 (2000) (citation omitted). Nonetheless, the nature of the environment may be
“among the relevant contextual considerations” in a reasonable-suspicion analysis. Id.

                                        Page 3 of 4
   Case 2:21-cr-00085-JPS Filed 09/28/21 Page 3 of 4 Document 17
Joseph determined that there was probable cause to search the car where

(1) Officer Gregory observed the driver of a red sedan participate in a late-

night hand-to-hand transaction; (2) shortly thereafter and close-by, Officer

Tierney observed the driver of a red sedan put something in his mouth

when he was pulled over; (3) Officer Rivera noticed a baggie2 in the red car

with a corner cut off; and (4) the officers patrolled a high-crime area and

had communicated all developments to one another.

        Accordingly,

        IT IS ORDERED that Magistrate Judge Nancy Joseph’s Report and

Recommendation (Docket #16) be and the same is hereby ADOPTED in

full; and

        IT IS FURTHER ORDERED that Defendant Tyshion Davis’s motion

to suppress (Docket #8) be and the same is hereby DENIED.

        Dated at Milwaukee, Wisconsin, this 28th day of September, 2021.

                                           BY THE COURT:




                                           J.P. Stadtmueller
                                           U.S. District Judge




        2  It is not clear whether Rivera observed one baggie with a cut corner, (Docket #16
at 7, 11), or several of such baggies, id. at 4–5; however, this inconsistency is not material.

                                        Page 4 of 4
   Case 2:21-cr-00085-JPS Filed 09/28/21 Page 4 of 4 Document 17
